     Case 3:13-cr-03233-DMS       Document 24      Filed 10/09/13   PageID.48     Page 1 of 1


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                          UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF CALIFORNI
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                                                                       BY                        ~)EPUTV
UNITED STATES OF AMERICA,                        CASE NO. 13cr3233-         -_._­                ,_--.J




                         Plaintiff,
                 vs.                             JUDGMENT OF DISMISSAL
MARIA DE LA LUZ RODRIGUEZ­
GARCIA,

                          Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

__x__ the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

___
  X_ of the offense(s) as charged in the Information:

     21:952 and 960 - Importation of Methamphetamine




            IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.




 DATED: 10/8/2013
                                                  Mitchell D. Dembin
                                                  U.S. Magistrate Judge
